
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-1098

                              EQUINE TECHNOLOGIES, INC.,

                                Plaintiff - Appellee,

                                          v.

                             EQUITECHNOLOGY, INCORPORATED
                                 AND RONALD LAROCHE,

                               Defendants - Appellants.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                      [Hon. Patti B. Saris, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                               and Cyr, Circuit Judge.
                                        _____________

                                _____________________

               Scott  J.  Fields,  with  whom Duane,  Morris  &amp;  Heckscher,
               _________________              ____________________________
          Lawrence G.  Green and Perkins, Smith  &amp; Cohen were  on brief for
          __________________     _______________________
          appellants.
               Victor H. Polk, Jr., with whom Bingham,  Dana &amp; Gould was on
               ___________________            ______________________
          brief for appellee.



                                 ____________________

                                   November 3, 1995
                                 ____________________

















                    TORRUELLA,  Chief  Judge.   Plaintiff-appellee,  Equine
                    TORRUELLA,  Chief  Judge.
                                ____________

          Technologies,  Inc.,  brought  a  trademark  infringement  action

          against defendants-appellants, Equitechnology,  Inc., and  Ronald

          Larouche (its  founder).  The district  court granted plaintiff's

          motion for a preliminary injunction,  and defendant appeals.   We

          affirm.

                                      BACKGROUND
                                      BACKGROUND
                                      __________

                    Plaintiff  is  a  Massachusetts  corporation  which has

          developed and  patented a line  of specialized "hoof  pads" which

          act as shock absorbers for horses.   Plaintiff has sold its  hoof

          pads  under  the  trademark  "EQUINE  TECHNOLOGIES"1 since  1989.

          Plaintiff also sells a  hoof cleanser called CLEAN TRAX  which is

          also  sold under the EQUINE  TECHNOLOGIES mark.  Plaintiff's mark

          has been registered  on the  Primary Register of  the Patent  and

          Trademark Office ("PTO") since March 1993.

                    Defendant, a Florida  corporation, began marketing  and

          selling hoof  care products using the  mark "EQUITECHNOLOGIES" in

          1993.   In its promotion  efforts, defendant has  stated that the

          "shock absorption qualities" of  its product make it "ideal  as a

          custom   hoof   pad."     Defendant's   petition  for   trademark

          registration was preliminarily rejected by the PTO on the grounds

          that  it  was confusingly  similar  to  the  mark  registered  by

          plaintiff.  Notwithstanding the ruling of the  PTO, defendant has

          continued to  append the  official trademark registration  to its

          mark.
                              
          ____________________

          1  The "u" in EQUINE is in the form of a horseshoe.

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                    Plaintiff sued defendant in  the United States District

          Court  for Massachusetts  alleging  federal and  state claims  of

          trademark infringement  and unfair  competition, and moved  for a

          preliminary injunction  to enjoin  defendant from using  the mark

          Equitechnologies  during  the  pendency  of  the  lawsuit.    The

          district  court granted the preliminary injunction, and defendant

          appeals.

                                      DISCUSSION
                                      DISCUSSION
                                      __________

                    "Trademark law  seeks to prevent one  seller from using

          the  same 'mark' as--or one  similar to--that used  by another in

          such a way that he confuses the  public about who really produced

          the goods (or service)."  DeCosta v. Viacom Int'l, Inc., 981 F.2d
                                    _______    __________________

          602, 605 (1st Cir.  1992); WCVB-TV v. Boston Athletic  Ass'n, 926
                                     _______    ______________________

          F.2d  42,  43 (1st  Cir. 1991).   A  district  court may  grant a

          preliminary injunction in a trademark case when it concludes that

          the  plaintiff   has  demonstrated   (1)  that  it   will  suffer

          irreparable injury if the injunction is not granted; (2) that any

          such  injury outweighs  any  harm which  granting the  injunction

          would cause the  defendant; (3)  a likelihood of  success on  the

          merits;  and (4) that the  public interest will  not be adversely

          affected by the  granting of the injunction.  Keds Corp. v. Renee
                                                        __________    _____

          Int'l Trading  Corp., 888  F.2d 215,  220 (1989) (citing  Planned
          ____________________                                      _______

          Parenthood League  of Massachusetts  v. Bellotti, 641  F.2d 1006,
          ___________________________________     ________

          1009 (1st Cir.  1981)).  The central issue in  this case, as with

          most preliminary injunction trademark  cases, see id., is whether
                                                        ___ __

          plaintiff demonstrated a likelihood of success on the merits.


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                    Defendant's first contention is that the district court

          erred  in  finding  a likelihood  of  success  on  the merits  of

          plaintiff's  claims  because the  mark  "EQUINE  TECHNOLOGIES" is

          "merely  descriptive"   of  the  horse  hoof   pads  produced  by

          plaintiff,  and therefore invalid.   See  15 U.S.C.    1052(e)(1)
                                               ___

          (proscribing registration of merely descriptive marks).  While we

          think plaintiff's mark is  "suggestive" of its product,  we agree

          with  the district court that the mark EQUINE TECHNOLOGIES is not

          "merely descriptive" of hoof pads for horses.2

                    "A  term  is  suggestive  if it  requires  imagination,

          thought and perception to reach a conclusion  as to the nature of

          goods.   A  term  is  descriptive  if  it  forthwith  conveys  an

                              
          ____________________

          2  We have explained the significance of  the classification of a
          mark as either "descriptive" or "suggestive."

                      A court's  inquiry  into whether  a  term
                      merits  trademark protection  starts with
                      the classification of that term along the
                      spectrum  of  "distinctiveness."   At one
                      end  of  the spectrum  there  are generic
                      terms that have  passed into common usage
                      to  identify a product,  such as aspirin,
                      and  can  never  be  protected.    In the
                      middle  there  are so-called  descriptive
                      terms, such as a geographical term, which
                      can  be  protected, but  only  if  it has
                      acquired a "secondary  meaning" by  which
                      consumers associate it with  a particular
                      product or  source.  At the  other end of
                      the   spectrum,  there   are  suggestive,
                      arbitrary and fanciful terms that  can be
                      protected  without   proof  of  secondary
                      meaning.    These  terms  are  considered
                      "inherently distinctive."

          Boston Beer Co. v. Slesar Bros. Brewing Co., 9 F.3d 175, 180 (1st
          _______________    ________________________
          Cir. 1993) (internal citations omitted).
           

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          immediate idea  of the ingredients, qualities  or characteristics

          of  the goods."  Blinded  Veterans Ass'n v.  Blinded Am. Veterans
                           _______________________     ____________________

          Found.,  872 F.2d 1035, 1040 (D.C. Cir. 1989) (citing Stix Prods.
          ______                                                ___________

          Inc. v.  United Merchants &amp;  Mfrs., Inc., 295  F. Supp. 479,  488
          ____     _______________________________

          (S.D.N.Y. 1968)).  See also Union Nat'l Bank of Texas (Laredo) v.
                             ________ __________________________________

          Union  Nat'l Bank of Texas (Austin),  909 F.2d 839, 844 (5th Cir.
          ___________________________________

          1990).  Merely  descriptive terms generally  are not entitled  to

          protection  under trademark  law "both  because  they are  a poor

          means of distinguishing  one source of services  from another and

          because  they are often necessary to the description of all goods

          or services of  a similar  nature."   A.J. Canfield  Co. v.  Vess
                                                __________________     ____

          Beverages, Inc., 796 F.2d 903, 906 (7th Cir. 1986).
          _______________

                    In  determining  whether a  particular  mark is  merely

          descriptive  of a product,  a reviewing  court must  consider the

          mark in its  entirety, with  a view toward  "what the  purchasing

          public would think when confronted with the mark as a whole."  In
                                                                         __

          re  Hutchinson Technology Inc.,  852 F.2d 552,  552-54 (Fed. Cir.
          ______________________________

          1988).  The district  court's determination that plaintiff's mark

          is not  merely descriptive of  its product  is a finding  of fact

          which we  review only for clear error.  Boston Beer Co. v. Slesar
                                                  _______________    ______

          Bros. Brewing  Co., 9 F.3d 175,  180 (1st Cir. 1993).   The clear
          __________________

          error hurdle is "quite high."  Id. (citation omitted).  Moreover,
                                         __

          because  plaintiff's mark has been  registered by the  PTO on the

          Principal Register,  it is  entitled to  a  legal presumption  of

          validity.    See 15  U.S.C.    1115(a)  (registration of  mark on
                       ___

          Principal Register "shall be prima facie evidence of the validity


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          of the registered mark . . . and of the registrant's right to use

          the  registered mark  in commerce  on or  in connection  with the

          goods  or  services  specified  in the  certificate").    Section

          1115(a)  entitles  the  plaintiff   to  a  presumption  that  its

          registered  trademark is  inherently  distinctive, as  opposed to

          merely  descriptive.  See Quabaug Rubber Co. v. Fabiano Shoe Co.,
                                ___ __________________    ________________

          567 F.2d 154, 161 (1st Cir. 1977) (federal registration "is prima

          facie evidence that such mark has become distinctive of the goods

          in commerce"); Liquid Controls Corp. v. Liquid Control Corp., 802
                         _____________________    ____________________

          F.2d 934, 936  (7th Cir. 1986).3  That said, we turn to the facts

          at issue in this case.

                    There is no dispute in this case that the term "equine"

          is descriptive  of horses.4   The  question, however, is  whether

          the mark, in its entirety,  is merely descriptive of  plaintiff's

          product -- hoof pads for horses.  Defendant's argument boils down

          to its contention  that "[a]  consumer (i.e.,  farrier or  equine

          veterinarian)  would  naturally expect  a  company  called EQUINE

          TECHNOLOGIES to make high-tech  hoof pads for horses."   Like the

          district court, we  find this argument  unsupported by case  law,
                              
          ____________________

          3  Defendant argues that plaintiff's mark is somehow not entitled
          to  this presumption  because plaintiff's  first  application for
          trademark protection was rejected.  Defendant seems to ignore the
          fact that plaintiff,  as it was entitled, amended its application
          and its mark was subsequently placed on the registry  by the PTO.
          Plaintiff's mark  is therefore fully entitled  to the presumption
          of validity.     

          4  When registering  its mark with the PTO,  plaintiff disclaimed
          any  exclusive  rights  to  the  term  "EQUINE"  because  of  its
          descriptive  nature.     As   plaintiff  correctly   points  out,
          trademarks may properly incorporate  descriptive terms for a non-
          descriptive whole.    

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          and lacking in basic common sense.

                    The district court concluded:

                         Plaintiff is likely  to prevail on its
                      claim   that  the  mark   is  not  merely
                      descriptive    because   it    does   not
                      immediately conjure up the thought of the
                      subject  goods.  Simply  hearing the name
                      gives  virtually no  idea of  the product
                      except that  it has  to  do with  horses.
                      Seeing the mark provides a better clue as
                      it transforms the  "u" into a  horseshoe.
                      However,  the  viewing public  still does
                      not  know  if  the product  is  itself  a
                      horseshoe, or a horseshoe related product
                      like a  hoof pad, or if  the enlarged "u"
                      is  simply a  graphic technique  to evoke
                      the idea of horses.

                    The  court's  finding  of  non-descriptiveness  is  not

          clearly  erroneous.     The  term   "Equine  Technologies"  might

          reasonably be thought  to suggest  that the product  to which  it

          applies has  to do with horses.  The addition of the upturned "u"

          might  also suggest, to the  perceptive consumer, that  it has do
                      _______

          with  hooves  or  horseshoes.   But  we  think  the mark  clearly

          "requires  the consumer to  exercise the imagination  in order to

          draw a conclusion as to the nature of goods and services."  Union
                                                                      _____

          Nat'l Bank, 909 F.2d 839, 844 (5th Cir. 1990) (quoting Zatarains,
          __________                                             __________

          Inc. v.  Oak Grove Smokehouse, Inc., 698  F.2d 786, 790 (5th Cir.
          ____     __________________________

          1983)).   The  mark  itself  does not  convey  information  about

          plaintiff's  product  or  its   intended  consumers;  rather,  it

          requires imagination to connect the term "Equine Technologies" to

          hoof care products, in general, and to the plaintiff's product in

          particular.  We  find no  error in the  district court's  holding

          that plaintiff's mark was not merely descriptive of its product.


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                    Before moving on to defendant's argument concerning the

          likelihood of confusion  between the two marks,  we pause briefly

          to address defendant's contention that the district court applied

          the wrong  legal standard  in analyzing the  "merely descriptive"

          question.     Defendant   maintains   that  the   district  court

          incorrectly  analyzed  only  the  question of  whether  the  mark

          immediately   describes   the  actual   product,   and  therefore

          implicitly  rejected the concept  that a trademark  may be merely

          descriptive if it describes the intended purpose, function or use

          of  the goods,  the class  of  user of  the  goods, or  desirable

          characteristics  of the goods.  See 1 J. McCarthy, Trademarks and
                                          ___

          Unfair  Competition,     11.5  (1994).    The  problem with  this

          argument is  that defendant  consistently argued to  the district

          court  that plaintiff's  mark  was invalid  precisely because  it

          merely described plaintiff's product; i.e., hoof pads for horses.

          The  district  court  was  therefore  responding  to  defendant's

          specific  contention.    Defendant   is  not  entitled  to  raise

          arguments on appeal  that it  failed to present  to the  district

          court.  See Boston Beer, 9 F.3d at 180 ("a  litigant's failure to
                  ___ ___________

          explicitly raise  an issue  before the district  court forecloses

          that party from  raising the issue for the first time on appeal")

          (citing McCoy v.  Massachusetts Inst. of Technology, 950 F.2d 13,
                  _____     _________________________________

          22 (1st  Cir. 1981), cert. denied,  112 S. Ct. 1939  (1992)).  We
                               _____ ______

          therefore treat these new arguments as waived.  See id. at 181.
                                                          ___ __

                    Defendant's  second contention  is  that  the  district

          court  erred in finding a likelihood of confusion between the two


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          marks.   "Once the  determination has been  made that  a term  is

          entitled  to trademark  protection, the  pivotal inquiry  becomes

          whether the allegedly infringing mark is likely to cause consumer

          confusion."  Boston Beer, 9 F.3d at 180.  See 15 U.S.C.   1114(1)
                       ___________                  ___

          (prohibiting  the  use  of  a  mark  that  is  "likely  to  cause

          confusion,  or  to  cause mistake,  or  to  deceive").   In  this

          circuit, this determination  is based upon  an analysis of  eight

          separate  factors,  each  of   which  requires  its  own  factual

          findings.  See, e.g.,  Aktiebolaget Electrolux v. Armatron Int'l,
                     ___  ____   _______________________    _______________

          Inc., 999 F.2d 1, 2-3 (1st Cir. 1993); DeCosta, 981  F.2d at 606;
          ____                                   _______

          Keds Corp., 888 F.2d at  222.  The determination as to  whether a
          __________

          likelihood  of confusion exists is  a question of  fact, which we

          review only for clear error.  See Aktiebolaget, 999 F.2d at 3.
                                        ___ ____________

                    The  findings made by  the district court  in this case

          are summarized below:

                    1) Similarity of  Marks:  The  impressions made on  the

          ear and the mind by  the two marks are quite close,  although, to

          the eye, the  two marks are not  so close.   Based on the  "total

          effect" of the  marks, the  similarity between the  two marks  is

          strong.

                    2) Similarity  of Goods:   Both products belong  to the

          narrow category of  hoof care  products.  Even  assuming a  price

          differential  between the  products, the  similarity between  the

          goods  is  strong.    Moreover,  even  assuming  that  the  prime

          purchasers  of   the   goods  are   sophisticated  farriers   and

          veterinarians, the goods are similar enough to create confusion.


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                    3,4,5)  Channels of  Trade, Advertising,  and Class  of

          Prospective Purchasers:5   The parties present  their products at

          the same trade shows, and advertise in the same magazines, to the

          same target groups of consumers.

                    6) Evidence  of Actual Confusion:   Plaintiff made more

          than  a  minimal  showing  of actual  confusion,  citing  several

          instances of  consumer and promotional confusion  between the two

          companies and their products.

                    7) Defendant's Intent in Adopting the Mark:  The record

          is  inadequate  to make  a  finding with  respect  to defendant's

          intent in adopting the mark.

                    8)  Strength of the Mark:  Defendant failed to overcome

          the   presumption  of  validity  attached  to  registered  marks.

          Plaintiff's mark is moderately strong.

                    The district  court meticulously  analyzed each  of the

          eight  factors,  and  it is  only  with  respect  to the  court's

          analysis of  the last  factor that the  defendant asserts  error.

          Defendant  contends  that the  district  court  erred in  finding

          plaintiff's mark  to be moderately strong, and  asserts that this

          erroneous finding  fatally infects  the  court's conclusion  that

          there is a likelihood of confusion between the two products.

                    We reject this  argument for two  reasons.  First,  the

          strength of a mark is  but one of eight factors to  be considered

          in  analyzing the likelihood of confusion issue.  See Keds Corp.,
                                                            ___ __________
                              
          ____________________

          5 As  is the custom in this  circuit, the district court analyzed
          these  factors together.   See  Aktiebolaget, 999  F.2d at  3 n.3
                                     ___  ____________
          (collecting cases).

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          888 F.2d at 222 ("No one factor is necessarily determinative, but

          each must be considered.") (citing  Volkswagen AG v. Wheeler, 814
                                              _____________    _______

          F.2d  812, 817 (1st Cir. 1987)).  The district court's subsidiary

          findings that  six  of  the seven  other  factors  demonstrate  a

          likelihood of confusion -- the intent factor being inconclusive -

          - are  sufficient to sustain the court's ultimate conclusion that

          such confusion exists.

                    Second,   the   district   court's    conclusion   that

          plaintiff's mark was moderately  strong is not clearly erroneous.

          In determining  a trademark's  relative strength, this  court has

          examined  "the  length of  time  a  mark has  been  used  and the

          relative  renown  in  its field;  the  strength  of  the mark  in

          plaintiff's  field of  business;  and the  plaintiff's action  in

          promoting the mark."  Keds Corp., 888 F.2d at 222 (quoting Boston
                                __________                           ______

          Athletic Ass'n v. Sullivan, 867 F.2d 22, 32 (1st Cir. 1989)).  In
          ______________    ________

          this  case,  the district  court noted  the following  factors in

          support of  its conclusion: (1) the mark has been in use for four

          years; (2)  plaintiff has actively  marketed goods with  the mark

          affixed, including  74 print advertisements  promoting the  mark;

          (3)  plaintiff  has received  favorable  publicity  in the  horse

          world; (4)  plaintiff has  successfully compelled one  infringing

          competitor to change  its name; and (5)  the PTO has rejected  at

          least one attempt  by a  competitor to register  a similar  name.

          Moreover, the  plaintiff's mark has  been registered by  the PTO,

          which provides additional support for the court's conclusion that

          the mark  is moderately strong.   See DeCosta,  981 F.2d at  606.
                                            ___ _______


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          These findings, which defendant  has not challenged as erroneous,

          sufficiently support the court's conclusion that plaintiff's mark

          is moderately strong.

                    Finally,  defendant contends that "the Court completely

          ignored the relevance of the fact that numerous companies in this

          industry  use a  combination  of Equi,  Equine,  Eque, Eques  and

          'Technology.'"   This  assertion is  belied by  the record.   The

          district court  opinion expressly  cites each of  these examples,

          but notes that only one of those companies directly competes with

          plaintiff,  and concludes  that  "its  mark  is not  as  similar,

          visually or  aurally, as  defendants' trademark."   Defendant has

          not argued that this factual finding is clearly erroneous.

                    We have considered  all of defendant's  other arguments

          and find them without merit.  The district  court opinion in this

          case is detailed and comprehensive.  The court carefully reviewed

          the evidence, made specific findings of  fact which are supported

          by  the record, and resolved the question of injunctive relief in

          accordance with  the proper legal  standard.  The  district court

          correctly  found that  it  was  likely  that consumers  would  be

          confused by the two marks, and that plaintiff is therefore likely

          to succeed on  the merits of its  infringement claim.   The court

          also  correctly  ruled that  the  other factors  relevant  to the

          issuance  of   a  preliminary   injunction  weighed   heavily  in

          plaintiff's  favor.  We find no basis for disturbing the district

          court decision.

                                      CONCLUSION
                                      CONCLUSION
                                      __________


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                    For  the reasons  stated  herein, the  judgment of  the

          district court is affirmed.  Costs to appellee.
                            affirmed.


















































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